                Case 3:19-cv-00017-MMD-WGC Document 16 Filed 06/10/19 Page 1 of 1

AO450 (NVD Rev. 2/18) Judgment in a Civil Case




                                  UNITED STATES DISTRICT COURT
                                                 DISTRICT OF NEVADA


MATT P. JACOBSEN,
                                                       JUDGMENT IN A CIVIL CASE
                             Plaintiff,
         v.                                            Case Number: 3:19-cv-00017-MMD-WGC

RUSHMORE LOAN MANAGEMENT
SERVICES, LLC; U.S. BANK NATIONAL
ASSOCIATION, NOT IN ITS INDIVIDUAL
CAPACITY BUT SOLELY AS TRUSTEE
FOR THE RMAC TRUST, SERIES 2016-
CTT; U.S. BANK NATIONAL
ASSOCIATION; CLEAR RECON CORP,

                             Defendants.


         Jury Verdict. This action came before the Court for a trial by jury. The issues have been tried and
         the jury has rendered its verdict.

         Decision by Court. This action came to trial or hearing before the Court. The issues have been tried
         or heard and a decision has been rendered.

 X       Decision by Court. This action came for consideration before the Court. The issues have been
         considered and a decision has been rendered.

        IT IS ORDERED AND ADJUDGED that Defendants’ motion to dismiss (ECF No. 3) is granted.
Plaintiff’s case is dismissed with prejudice.


         Date: June 10, 2019                                  DEBRA K. KEMPI
                                                             Clerk



                                                              /s/ D.R. Morgan
                                                             Deputy Clerk
